In Re: Sealing Orders for Public Filing

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

Criminal No. = 5:24-sp-2024

Sealing Order

For Public Filing

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The United States of America has applied to the Court pursuant to NDNY Criminal Local

Rule 49.2 for an order sealing the following: (a) one or more documents submitted to the Court at

the same time as this sealing application, which document(s) request a Court order authorizing

certain investigative activity or an arrest warrant; (b) the Court’s order authorizing such

investigative activity or an arrest warrant; (c) this sealing application; and (d) the Court’s sealing

order, which has the same caption.

BASED ON THE GOVERNMENT’S APPLICATION, THE COURT ORDERS SUCH

SEALING BECAUSE PUBLIC FILING OF THE ABOVE DESCRIBED DOCUMENTS MAY

[indicate all reasons that apply]:

x

Jeopardize an ongoing federal criminal investigation by revealing the existence of that
investigation to potential targets and subjects of the investigation;

Jeopardize the safety of a person who has provided information and/or other assistance to
the criminal investigation or the family and/or friends of such person by revealing such
person’s cooperation with the investigation to those under investigation or their
associates;

Jeopardize the safety of law enforcement personnel;

Reveal law enforcement methods, techniques, and/or procedures, thereby jeopardizing
future investigations using such methods, techniques, and/or procedures;

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Reveal non-public information about one or more victims and/or witnesses and such
information could lead to adverse financial and/or social consequences for such
person(s);

X

Reveal non-public information about one or more targets or subjects of the investigation
who have not been charged with a crime in the relevant investigation and such
information could lead to adverse financial and/or social consequences for such
person(s);

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oO Reveal matters in violation of federal law, such as Rule 6(e) of the Federal Rules of
Criminal Procedure and/or Title 26, United States Code, Section 6103;

C1 | Jeopardize national security.

THUS, IT IS HEREBY ORDERED THAT THE FOLLOWING ARE TO BE FILED
UNDER SEAL: (a) the documents submitted to the Court at the same time as this sealing
application, which document(s) request a Court order or warrant authorizing certain investigative
activity or an arrest warrant; (b) the Court’s order or warrant authorizing such investigative activity
or an arrest warrant; (c) this sealing application; and (d) the Court’s sealing order, which has the
same caption

IT IS FURTHER ORDERED THAT:

1) The clerk of court publicly file only the redacted version of this Court’s sealing order;

2) The government is permitted to disclose the sealed documents to appropriate law
enforcement officials; and

3) The above-described documents will remain under seal until further order of this Court or
any court of competent jurisdiction, except that if the document(s) filed under seal relate solely to
a government request for an arrest warrant, that such documents and the warrant be unsealed upon

the arrest of the person to be arrested.

IT IS SO ORDERED.

Dated and entered this day of February, 2024.

Hon. Miroslav Lovric
United States Magistrate Judge
